      Case: 3:24-cr-00050-jdp      Document #: 76     Filed: 03/03/25   Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA

       v.                                               Case No. 24-CR-50-JDP

STEVEN ANDEREGG,

                     DEFENDANT.


                 GOVERNMENT’S UNOPPOSED MOTION TO STAY


       The United States of America, by and through undersigned counsel, hereby moves

this Court for an order staying all remaining pre-trial deadlines and trial dates in this

case. In support of that request, undersigned counsel states as follows:

       1.     On May 15, 2024, the defendant was charged by indictment with (1)

production of obscene visual depictions of minors engaged in sexually explicit conduct;

(2) distribution of obscene visual depictions of minors engaged in sexually explicit

conduct; (3) transferring obscene material to a minor; and (4) possession of obscene visual

depictions of minors engaged in sexually explicit conduct. Dkt. 2. The trial in this case

is scheduled to begin on April 7, 2025, with various pretrial hearings and deadlines

scheduled in March and April 2025. Dkt. 72.

       2.     The defendant filed a motion to dismiss Counts 1 and 4—the production

and possession counts, respectively. Dkt. 40. After receiving briefing on this and other

motions, the Court granted the defendant’s motion as to Count 4 and denied his motion

as to Count 1. Dkt. 73 at 14-20.
      Case: 3:24-cr-00050-jdp     Document #: 76      Filed: 03/03/25    Page 2 of 2




       3.     The government has noticed its intent to appeal the Court’s dismissal of

Count 4 pursuant to 18 U.S.C. § 3731. Dkt. 74. As a result, and to preserve limited judicial

resources and avoid the risk that this Court and the Seventh Circuit simultaneously

address overlapping or related issues, this Court should stay all remaining pre-trial

deadlines, conferences, and trial dates pending resolution of the appellate proceedings.

       4.     Pursuant to 18 U.S.C. § 3161(h)(1)(C), any period of delay resulting from an

interlocutory appeal is excludable under the Speedy Trial Act. Accordingly, the

government respectfully requests that any order granting this motion also include a

finding that the period between the filing of this motion and the resolution of the

government’s interlocutory appeal is excluded for purposes of the Speedy Trial Act.

       5.     Undersigned counsel has conferred with defense counsel, who advised that

he agrees that the district court proceedings should be stayed pending resolution of the

government’s interlocutory appeal.

       Dated this 3rd day of March, 2025.

                                          Respectfully submitted,

                                          STEVEN J. GROCKI
                                          Chief, Child Exploitation & Obscenity Section

                                   By:
                                          /s/ William G. Clayman
                                          William G. Clayman
                                          Trial Attorney




                                             2
